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                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

 DR. ROBERT W. MALONE,
                                              )
                                              )
               Plaintiff,                     )
                                              )
 v.                                           )       Case No. 3:22-CV-00046
                                              )
 WP COMPANY, LLC,                             )
 D/B/A THE WASHINGTON POST,                   )
                                              )
                                              )
               Defendant.                     )

                                              ORDER

        For the reasons stated in the Court’s September 28, 2023 opinion, Dkt. 24, Defendant’s

 motion to dismiss is GRANTED. Dkt. 9.The Clerk of the Court is directed to STRIKE this case

 from the docket.

        It is so ORDERED.

        The Clerk of the Court is directed to send a copy of this Order to the parties.

        Entered this 28th day of September, 2023.




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